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ATTORNEYS

Rusty A. Payton 1 15 South LaSalle Street, #2600
Marc E. Dann Chicago, IL 60603
312-702-1000fl`e1ephone & Fax

 

March 21, 2017

BSI Financial Services

Attn: Qualified Written Requests
1425 Greenway Drive, Suite 400
Irving, TX 75038

*Sent via Certified Maz'l return receipt requested [ 701 4 2120 0003 0665 6689]

In the Matter of:
Borrower’s Name: Leonard Williams
Property Address: 15526 DreXel Avenue

Dolton, IL 60419
Mortgage Account No.: 1406542723

**If responding to this correspondence by e~mail, please send to notice§@£annlaw. com

Re: Request for Information Pursuant to 12 C.F.R. § 1024.36

Dear Sir or l\/[adam:

This is a Request for lnformation related to your servicing of the above~referenced mortgage loan All references
herein are to Regulation X of the Mortgage Servicing Act as amended by the Consumer Financial Protection

Bureau pursuant to the Dodd Frank Act.

The written authority of the above~referenced borrower for this request to our law firm is enclosed herewith and
incorporated herein by this reference

Pursuant to 12 C.F.R. § 1024.36(c), you must provide our office With a written response acknowledging receipt
of this notice within five 153 days of such, excluding legal public holidays, Saturdays, and Sundays.

l\/[oreover, pursuant to 12 C.F.R. § 1024.36(d)(ii) (2)(B), you must provide the information requested, infra, with in
thii@ {30) days after your receipt of this request, excluding legal public holidays, Saturdays, and Sundays.

Please provide the following information within the time periods noted herein:

l. An exact reproduction of the life of loan mortgage transactional history for this loan from the contract
system of record h'om your electronic software program for this loan.

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March 2], 201 7
Page 2.' Requestfor Informau'on (RESPA) for Leonam’ Willictms

For purposes of identification, the life of loan transactional history means any software program or system
by which the servicer records the current mortgage balance, the receipt of all payments, the assessment of
any late fees or charges, and the recording of any corporate advances for any fees or charges including but
not limited to property inspection fees, broker price opinion fees, legal fees, escrow fees, processing fees,
technology fees, or any other collateral charge Also, to the extent this life of loan transactional history
includes in numeric or alpha-numeric codes, please attach a complete list of all such codes and state in
plain English a short description for each such code.

2. Copies of any and all servicing notes related to your servicing of the above-referenced mortgage loan for
the past two (2) calendar years.

3. Copies of any and all bro.l<er’s price opinions you performed or otherwise obtained for the above-
referenced property in relation to the above-referenced mortgage loan.

4. The physical location of the original note related to the above-referenced mortgage loan.

5. A true and accurate copy of the original note related to the above-referenced mortgage loan.

6. The identity, address, and other relevant contact information for the custodian of the collateral tile
containing the original collateral documents for the above-referenced mortgage loan, including, but not
limited to the original note.

7. A detailed copy of your last two (2) analyses of the escrow account of the mortgage

8. Please state each and every date during the time period from January 10, 2014, to the present on which
you received a complete loss mitigation application from the above-referenced borrowers

Please note that, pursuant to 12 C.F.R. § 1024.41(b)(1), a “complete loss mitigation application” is defined
as “an application in connection with which a servicer has received all the information that the servicer
requires from a borrower in evaluating applications for the loss mitigation options available to the
borrower.”

Best Regards,

 

Enclosure

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312-702-10110!Tolephone & Fax

 

In the Mat:ter of:

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Bnrrower[s]:

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Mortgage LoanNo.: l'~I'O(g"QLl Q-ggy 5

Re: Written Consnntlsuthorization fur Requants for Ioformation
&Notices of Brror '

 

'f'o Whom ltMay Concern:

I/We, the hurrnwer[s). do hereby authorize and provide our written consent and
authorization for 3 l l':\ “\OW\C-l "“l~ 3""/‘ C"'i 5 , the
Servi¢:er of the above-referenced loan, to fully cooperate wlth, comply with, and provide any and all
information requested or demanded by and through any and all Reques\‘s for [nformatlnn and/or
Notic:es of Ermr pertaining to our loan, pursuant to the Real Estate .S¢etl;lement and Procei:l\zres Act
[lteguiation X] and/or the 'I‘rut'h in Lending net {Regulaiion Z] which may be sent by Attorneys
Marc Dnnn, Daniel Solar, Panl Bellamy, William Behrens, llusty A. Payton, ]etTrey Long, javier
Mertno. Latrtce Latin. limin White, th'tnay Kssrer cr Brian Flir:lc on our belmlf. 5ald counsel
represents ns in any and all pending or contaminated legal matters concerning the above-
referancecl ln:m. Please respond to any and all such Requests and Nntlces atthe following address
'l‘he Dann Law Firm En._. LPA

Signed: 4 M“"‘° Date:_¢?i{&`w

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Print Name:

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